Case 2:02-Cr-20054-BBD Document 285 Filed 08/02/05 Page 1 of 2 Page|D 268

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 02-20054 D
v.
RONNIE LEWIS,

Defendant.

 

ORDER DENYING MOTION FOR BOND DURING PENDENCY OF APPEAL

 

Bef`ore the court is Defendant’s motion for bond during the pendency of appeal. (Docket No.
279). 18 U.S.C. § 3143(b)(1) provides that a person Who has been sentenced to a term of
imprisonment, and Who has filed an appeal, be detained absent a showing that the Defendant will
not flee or does not possess a danger to the community. Defendant has failed to make a clear and
convincing showing that he Will not flee or is not a danger to the community.

Accordingly, Defendant’s motion is DENIED.

Defendant’s motion for an expedited ruling, (Docket No. 282), is dismissed as moot.

IT ls so 0RDERED this _Z,Lday of QSM ,2005.

      

BE ICE BOU]E DONALD
UNITED STATES DISTRICT IUDGE

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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

